   Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 1 of 55
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                JUDGE BECERRA TO DISQUALIFY HERSELFAND VACATE ALLHER ORDERS
                       CONCERNING THIS CASE AND M EM O RANDUM O F LAW


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   Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 4 of 55


SS455(B)(1)AnyouevenwroteanOrdertoSealthatCasewithnoJURISDICTION,noGrandJuryW arrant,
no Grand Jury lndictmentand no Grand Jury M inutes in Violation ofF.R C.P.Rule(6)and(7)
                                                                 .




AND YOU JJDGE BECERRA, U.S. ATTORNEY GENERAL NtYRKENZY LAPOINTE AND U .S.

ATTORNEY JONATHAN BAILYN ARE ACTING IN VIOLATION OF PRESIDENT TRUW 'S

EXECUTIV E O RDER SECTIO N 301 OF TITLE                OF U N IR'ED STA TES CO DE . EN D ING

W EAPONIZATION OF THE FEDERAL GOVERNM ENT IEXH. ZZZZ). W HERE AS, THE
GOVERN M ENT AGENTS Ar         OR OFFICERS HAVE W EAPONIZED THE LAW Ar               USED IT TO

CAUSE HARM AND DETRIM ENT TO W E THE PEOPLE LIKE BLACK S FOR TRUM PI.FBI A gent

A dam W einstein called and said to M icahielN ichloson hew asA dam W einstein from theFBI    .




And l am investigating the Jan.6thlnsurrection incidentand then they ask to speak to M ichael

AK A M aurice Sym onette. FB l A gent W einstein said to M aurice Sym onette that he w as

investigating theJan.6thCase forlnsurrection and askedm edidm eandtheBrothersgo into the

     CapitalExh.(AA)and Exh.(BB),Then FBlAgentAdam W einstein wentto Alfred
Davis'soffice and showed abook ofpictures and asked Alfred Davis did he know who these

people were in thepicttlresofthisbook.which had picturesofthe BlacksForTrum p brothers

with M aurices Sym onette,and the Proud Boy'sEm ique Tarrio and otherproud boys, (Exh.

CC).ButAlfred Daviswouldn'ttalk to them and said speak to hisLawyer.Then FB1Agent
W einstein Arrested him on a state charge ofcounterfeitaccessM achine asAD found outlater

and w hen the Brothers and sistersw entto CourtforA lfred D avisbutthey w ould not1etusw ear

ourBlacksForTrtlm p T-shirts,even though otherJudges said w e could wear itin the Court

room .Butin thisCA SE they asked theJudge Jose E.M artinez and they said itwasbecause we

svefe Jan 61 lnsurrectionist, Then on 05/06/2024,lw asforced to trialforCounterfeitAccess

Device,and found guilty butcoconspiratorJudge M artinez exclaimed in courtthathe
    Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 5 of 55


  D isagreed with theA ry,TheJudgesaidl'm doing my own D irected Verdicton July, 11th2024,

  andleavingAk edDavisoutonBondanddidn'tremandAD toJailasrequested byProsecutor
  Jonathan Bailyn.becausetheProsecutordid notPRO VE theirCase, broughtnoevidence(The

  CounteyeitDevice Machine) and no Witnesspointed outAlh-ed Davisforanything!Allin
  violation ofRule37oftheFloridarulesofCivilProcedure(failureto CooperateinDiscovery).
  Butrightbefore the Sentencing hearing ofJuly 9thM e (M aurice Symonette) and M icahiel
  Nichloson saw the Transcriptatthe Gov Clerks oftk e and then the next day July 10thm e
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  (M aurice Symonette)and AD wentto theFederalClerk'softiceto ORDER theTranscriptbut
  we saw thatthey changed theTranscriptby taking outJudgeM artineztsStATEM EN I', Judte

  M artineza claim ed in courtthatè<fD isazreed with the A rp.The Judzesaid I'm

  doinz zzly own D irected Verdicton Julv.11th2024.and leavinz A lfred D avis out

  on B ond and didn 't rem and A D to Jail a: requested & Prosecutor Jonathan

  B ailvn.because the Prosecutor did notPR O VE their Case. brouzhtno evidence

  (The CounterfeitD evfceM achine) and no W itness pointed outA lfred D avis for

  anvthinzTlA ffidavits of CourtRoom attedents who witnesse and heard Judze

  M artinez sav this.E xh. IL A nd chanzed To on pcec 64 lines. I-3 ./l4##e Jose

  M artinezCItaItZedILLE GALL Y on the Transcrinttosav Gf'za notsure.Ithink

  there% enouzh issue in this case thatIthink 111Iethim outuntil.atthe

  lvry lqast.until-Sentencinz''.Exh.N JZ paze 64 lines.1-3.



1. TR UM PS EXECUTIVE O#DF# SECH ON 301 OF TITLE 3 UM TED STA TES COD E
   Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 6 of 55




Andnow FBlAgentAdam Wdnstein ishidingfrom Trump becauseTrump Ordered aIlFBI
Agents who worked on the Insurrection Case Fired and so now M aurice Sym onette is a

W histlebloweron llfll1.Because Trump ordered alIFBIAgents thathad anything to do with

thejan.6thInsurrection CasebeFirei (Exh.DD).AndyetFBlAgentAdam Weinstein is.
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working on thiscasehestemmedfrom theJan.6t)iInsurrection Casein Violation of Trumps
Executive Orderwhich is Treason.

FloridaConstitution articlelSection 20 Transcript issupposed tobe availablethenextday butitisstillnoton
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tht docktttovitw Griftith v.Illinois AlfredDavisNOW (AD)firtdbisLawytr,thtnhisfirtd Lawyercame
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back inCOURT withoutAD'sPermission tohelp cotrceAD into pleadingGuilty, eventhough hehired another

Attorney Nashid SabirThe casewasunsealed on 01/24/24and on 02/24/24 theunsealed indictmentwasputon

the Record.Pursuantto 28 U S.
                            C.SS 455(b)(1)(3)(4)(iii)(c)(d)-(4)(d).No Justice,Judge orM agistrated-(e)
                            .




FCRP rule 60 reliefofJudgem entofyourOrderand to vacate YOUR Orderand mustFederalrulesofCivil

Procedurerule 17 section 53oftheïirstJudiciary actof1979 comm on 1aw oflawyerArticle3 U S.Constitution
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sec.2 clause 1itism andatoryby federallaw thatyou Recuseyourselffrom thisCasebecauseyouhaveacriminal

ConflictofInterest. Because alltheJudgesmustdisqualify them selvesin the following circum stanceswhere

they haveaFederalagentthatworksf0rthegovernmentthattakesm oney hasaContlictofinterestin aCase In   .



thatlaw itsaysyou areconnected and an affiliatedbank. Bank ofAm erica isUS Bank SeeExh (B)You arei
                                                                                        .        n
violation ofFederalCode 18 U.S.C 912 y0u arein aConspiracy with Jonathan Bailyn and M arkenzy Lapointe

andallthese otherjudgeswho haveConflictsofinterest. FloridaStat.112.131,FloridaRule2.160 (H)and
FederalRules ofCivilProcedurt Rule 60, DeftndantAlfred Davis htrtby lilesthis M otion for Relief &

       ALII7Y and Supporting M emorandum regarding tht (A v 7tl:2024Judgt Jaqueline Btcerrartvitw oftht
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record and FinalJudgementOrder,EXh.J based on the following facts,new informationv justterms,judicial
                                       .




misconducta fraudulent grounds and discovered contlict of personal investment interests on Financial

DisclosuresofJudgesand officersofthisCourt(Exh B) Attached-u.
                                                 .
                                                            s.BANK SpecialSituationPropertv
    Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 7 of 55




Funds AccountPace42.IFRS 20l8Tables9-13. SEC Filings-U.S.BANK FloridaSubsidiaries, JudgeJaqueline

BecerraFinanciallnterests& PropertyDisclosures).


Florida Rule2.160 fe )Savs,4 Judte e v Vacate llf,
                                                 &ordersforConm ctofInterestTheodoreK #Iln## F:

Judte John .4.Rudd H Rule 2.160 fD)(13H Code./k#. Conduct.Canon JFf7).4 Judte shalldisqualifv

JlfzAzçd/fwherez- /v#l/A m iehtreasonablvbeJxe-ç/f/ae# Rule2. 160 /D)(1)eroundsto dlllz/lffvlsplr/p

fears Judee f,
             &Biased FL S/lflle 112.312 /#)Judte can'thave a ctm/Ncfof Interest J28 U.S.C.SS 455

(b)(1)(3)(4)(iii)(c)(d)-(4)(d).
JudgeJaqueline Becerra mustDisqualifyherselfforan open obviousConflictofInterestbecauseshe's

doingbusinesswith BankofAmericaand helpingthem to m ake money sothatshe can make m oney

byforeclosingandtaking(stealing)ourpropertywhileactingastheJudgeonthecaseonourproperty,
noton case's M erits butto m ake herand them m oney lllegally. W hich iswhy she is Coercing and

ThreateningAD totakea PLEA forno reason and puttingAD in Jailfor60 years.

Here's proof.Becerra m ust Disqualify herselfbecause the Docketon the third Iine on Alfred Davis's

Drivers License Case saysthatshewasthe M agistrate Judge on thisCase thatshe sealed the Case#

24-cr-20051-JEM Exh.R.28U.S.C.SS455(b)(1)Seedocketline3whereJudgeBecerrawastheacting
M agistrate on the Case and signed an Orderto Seplthe Case. And A ludge Shallalso disqualify him self

in the following Circumstances:W here he has a PersonalBiasorPrejudice concerning a party, or

personalknow ledge ofdisputed evidentiary factsconcerning the proceeding;28 U .S.C.SS455(b)(1)

Alfred Davisisacting Pro-se becauseAD FIRED BRIAN KIRLEW ashisATTY. Because AD know s that

Brian is betraying him forthar30 Pieces ofJUDAS SILVER, (EXH.ZZ).And Brian Ki
                                                                            rlew knew hewas
fired because hetextAD aTEXTsayingthathe understood thathewasfired andthathisassistance
   Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 8 of 55


w asno longerneeded and even saidAd hasa Constitutionalrightto the Lawyerofhischoiceorto

representyourselfsothereisno hardfeelingshere,(EE)W HO AG UALLYSHOW ED UPTO COURTUN
INVITED T0 TALK AD into taking the Pleaw ith the threatofthe Judge having A 50 PEOPLETO CHOOSE

FROM JURY outside the Courtroom ready to trythe Case thatday and BRIAN CAM E UNINVITED BY

AD andtoldAD thathisnew ATTY.W asweakand can'tpractice in FederalCOURT andJUDGE Becerra

saidthatAD M UST KEEPH1SFIRED AA7Y.BRIAN andthePROSECUTORtOIdAD'sAm O urorganization
                                                                             .




wasgoingto harm him IATTY.NASHID SABIR)whiletheProsecutorwaswearingabigBulletProof
Vestand told AD'SAm .Nashid thatAD could nothave any W itnessesto forcAD take a Pllea.THIS

IS COERSIAN IN UU M OST ABSOLUTLEY W ICKED JUDGE BECERRA W OULD NOT GIVE AD A

CO NTINUANCE TO PREPARE LIKESHE DlD IN OTHER W HITE PEOPLE'S CASES LIKE HER TRIALCASE VS

THE UNITED STATESTHIS IS TOTALSICK DISCRIM INATION (EXH.ZZZ),ESPECIALLYW HEN SHE READ
THE M OTIO N TO DISM ISS BY ATTY.NM HID SABIR THAT SHOW S THAT THE SUPPREM E CO URT SAYS

IT'S ILLEGALTO SAYTHERE IS NO M ORTGAGE ON PROPERTY AS LO NG AS YOU SAID IT BEFORE IT W AS

RECORDED ON BOTH PRIVATE BANKS FIGGURE BANK AND LOW ER LLC, FL.STAT.SS695.01 AND THE

SUPPREM E SAYSTHAT M ISLEADING A BANK IS NOT ILLEGALTO M ISLEAD BANKS, 18 USC SS 1014 AND

US SUPPREM E CO URT THOM PSON V UNITED STATES AND THE JUDGE KNOW S THAT THE GOV.

CANNOT PRO SECUTE FOR PRIVATE LENDERS THEY M UST DO THEIR OW N DUE DILLIGENCE AND

THAT'S CIVIL.18 USC SS 1344 AND THE IUDGE KNOW STHATTHE PROSECUTO R HAS NO PROBABABLE

CAUSE TO SEARCH AD'S EM AIL ESPECIALLY US BANK'S BECAUSE THERE W AS N0 COM PLAINT FROM

US BANK BECAUSE THEY NEVER LOANED AD ANY M ONEY AND THE PROSECUTOR HAS NO GRAND

JURY W ARRANT T0 HAVE AD'S EM AIL SEARCHED AND THEY HAVE N0 GRAND JURY SIGNED

INDICTM ENT AND NOT HAVING THE GRAND IURY W ARRANT O R THE GRAND JURY INDICTM ENT OR

GRAND JURY M INUTES W HICH VOIDS THE W HO LE CASE, FED.RULES OF CIVIL PROCEDURE RULE 6

AND 7.IT CANNOT JUST BE SIGNED BY THE ATW .GEN M ARKENZY LAPOINTE W HO HAS 2 M ILL. IN
    Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 9 of 55


M ORTGAGES W ITH US BANK AND 615,000 DOLLARS IN CASH FROM US BANK, EXH.Y AND BAILYN

OUT OF 380 PROSECUTORS AND PUBLIC DEFENDERS IN FLORIDA JONATHAN BAILYN FROM 2020 TO

NOW ISTHEONLY USAU ORNEYTHAT DOESN'T HAVETHEFINANCIALAFFIDAVIT REQUIRED BY THE

FED.GOV.SO THEY M UST BOTH DISQUALIFY OFF THE CASE NOW ALL M UST BE CHARGED W ITH

M ISPRISSION O F FELLO NY AND A VIOLATION OF THEIR OATH W HICH IS TREASO N . ALSO NEITHER

LAPOINTE NOR BAILYN ARE SIGNED AS A FO REIGN AGENT W ITH F. A.R.A.ESPECIALLY BECAUSE US

BANK FO REIGNLY OW NED BY CHINA, EXH. Z.. SO JUDGE BECERRA LIKE THEM HAS A SERIOUS

CONFLIG OF INTEREST.Here in herAffidavit she states lJudge Jaqueline Becerra, that Bank Of

Am erica on her Fulland Public Disclosure OfFinancialInterestsisa Bankdoing Businessw ith US Bank

because she's doing businessw ith US BANK and helping them to m ake m oney so thatshe can m ake

money byforeclosingandtaking ourproperty whileacting astheJudgeto take 1he propert'
                                                                                  y noton

hisM eritsbutforto make him and them money Illegally.Here'sproofthat, Judge Jaqueline Becerra

is doing business w ith Bank ofAm erica as seen in her FINANCIAL AFFIDAVIT page 4 Iines 2 in the

amountof$100,000 Exh.A.W hich isUS Bancorp Exh.B pg.l and pg.2 because both bankshave
Shares w ith Ally Financialaccording to Fintel's stock chart. She also has a Conflict of fnterest w ith

AmericanExpresswhichisU.S.Bankintheamountof$50,000online10,.WhichisaIlamajorConflid
ofInterest.Becauseshe hasruled infavorof, EXH.pleaThatisa ConflictoflnterestagainstAD and

there's m ore.lhave found that ourcase w as directed to herin this Pool, So she m ustdisqualify and

recuse herselfandvacate hisOrders,Exh.G.SoJudgeJaquelineBecerrayoum ustDISQUALIFYYOUR

SELF and VACATE YOUR ORDER against AD,EXH.1. M aurice Sym onette hasa hon.Doctorate Degree

asaMinstertoAD,Exh.S,and asanextfriend,FED.RULESOFCIVILPROCEDURE17and 17(c)and
BECAUSETHE ILLEGALProsecutofsare investigating and goingafterM E M AURICESYM ONEU E so as

an interested party does flle this m otion to DISQUALIFY JUDGE BECERRA, 28 U.S.C. SS 4S5

(b)(1)(3)(4)(iii)(c)(d)-(4)(d).
  Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 10 of 55




                                           FACTUALBACKGROUND




l.On m Y 5*m 7% Judgelaqueline Becerraiw led an illegally coercedfrd R EA againstDefendantAlfred Davis
                                                                               .




foramountsdueandowingonsamemortgagethatwasdismissedwith Prejudiceinformercaseno:24-CR-

20456-J8-11where USBANKalsoon >            5thth.WTA,JudgeJaqueline BecerraissuedaJudgmentorderacting a5

aquasi-defense attorneyforUS BANKYOUR personalinvestm entPartnerto m ake moneytogether. Plaintiff

ALFRED DAVIS hasnow subsequently provided the United StatesDepartmentofJustice (DOJ)on snecific
newlvdiscovered whistleblowerinform ationand recordsregarding millionsofdollarsin exposed fraudulent

Prosecution claimsmade bythe DefendantsUSBANK,Clerksand Courtofficers in thisaction. Exhibit,0.




                                         M EM OM NDUM OF LAW




    The Defendants maintainstimely Constitutionaldue processcivilrights forFloridaRule 2 160 (H)and   .




FederalRule60 RelieftoclosethiscasewiththeoriginalDismissalwithPrejudicein ourDefendantsfavor
with requirement of Jaqueline Becerra Recusal based on exposed financial conflicts of interests Fla.

Stat.112.312(8)(9).

    Rule2.160(/$ aIQ FRCP Rule60.relieffom .ludgmentOrOrder.andtovacateOrder .

TheirjA'tobenoconhictofinterestwiththeJudgeandthePlaintffagainstDEFENDANTS.LIKE


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                                 # under#p/d59(b);
   3. H aud w hether previously called intrinsic or extrinsic, m isrepresentation or m iscondud by an
   Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 11 of 55

      Opposing party


     A JudgeisexpectedtoRecuseherselfaccording to Fla. CodeJud.ConductCanon3E(1),Fla.Rule2.160

(A)(H),Fla.Statute 112.312(8)and pursuantto28U.S,C.j455Underj455(a),Recusalismandatoryin
çtany proceeding in which Judge's im partiality might re% onably be questioned.@'Under Fla. Code Jud.

Conduct,Canon 3E(1)and j 455(b),ajudge is expected to disqualify herselfwheneverany ofthe five
statutorily prescribed criteria can be shown to existin fact;even ifno m otion oraffidavitseeking such relief

hasbeenfiled,andregardlessofwhetherareasonablepersonwouldquestionthejudge'simpartiality.
 Fla.codeJud.conduct,canon3E(l),Fla.Rule2.160(A)(H),Fla.Statute112.312(8)andSedion455(b)he5.
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                                                       CON CLU SION



    ThisM otion forReliefby vacating orderJudgm entFloridaRule2 160(H) andRecusalisbasedonnew
                                                                                         .



facts,related to a w histle blow er's inform ation, willfulblindness,fraud,misconduct, and discovered evidence

unknown atthetimeoftheoriginalComplaintfilingPlaintiffcould notreasonably know thefinancialdealings

with Defendant,due to cited im propertinancialcontlictsofinterest, Judge Jaqutline Bectrra Isincapable of

impartiatlyandwithoutanimusagainstPro-sePlaintiffortoexerciseunbiasedjudicialdutiesrequiredfordue
processjusticeinthiscase.JudgeJaquelineBecerrahascreditorloanhistory andbusinesswithU.S.BANK
thatcaused preferentialQuid Pro Quo treatmentby her .suaspontereview and FinalPLEA Order.Judge
JaquelineBecerrahmssignificantexposed investorfinancialinterestsinthesubjectmatterin controversy and
with DefendantsUS BANK thatwillbe subslntially negatively affected by theoutcome ofthatproceedings
     Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 12 of 55

   when thePlaintifftûultimately prevailsand prom otesin paid foraddsin the media Because people can'tw in
                                                                                .



   when theJudge isonthe side oftheBankstersto stealproperty and money offtheirPrey!Example ofJudges

   who already recused them selves BECAUSE OF US BANK M ONEY CONFLICT OF INTEREST 131               .



   FEDERAL JUDGES FOUND GUILTY OF M ONEY CONFLICT OF INTEREST GOGGLE NY TIM ES

   1.JUD GE DARRFN P.GAYLES Exhibit,P       .


   2.THOM ASW ILLIAM S Exhibit,Q.


   2. JUDGES W ITH A CO NFLICT OF G TEREST FRO M DEUTSCHE BANK W ITH US BANK
      AGAINST ALFRED DAVIS FOR US BANK FO R THESE EXHIBITS SEE GODS2.CO M #1B
                   SEE EXH IBITS FRO M SAR A ZABEL TO SANCH EZ

1.SARAH I.ZABEL4/7/09---------------------------------------------------made9 M illionfrom USBANK

  2.VALERIEM ANNO SCHURR 1/21/22--------------------madealmost12M illionfrom USBANK

  3.IOHN SCHLESINGER 12/19/2017-----------------------made almost29 M illionfrom USBANK

  4.SAMANTHA RUIZCOHEN 5/12/2021------------------------made over2 Millionfrom USBANK

  5.M IGUELDELAO 1/9/2019----------------------------------madealmostlM illionfrom USBANK

  6.VERONICA DIAZ6/2/2020----------------------------------madealmostX M illionfrom USBANK

  7.VIVIANNEDELRlO 5/4/2022-------------------------------madealmost2M illionfrom USBANK



       CLERK OFTHECOURTS HARVEY RUVIN AND IUAN FERNANDEZ-BARQ UIN



  5.CLERKHARVEY RUVIN----------------------------------------------made $315,000from USBANK

 6.CLERKJUAN FERNANDEZ-BARQUIN-----------------------------made $635,000 from USBANK



     APPELLATEIUDGESW ITH A $CONFLICTOFINTERESTW ITH U.S.BANK N.A.
       Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 13 of 55




1.BROw p1lA/hr,1(2.h;ILLER-----------------------------------------------rnade$95,000frt)rn LJS BAp1K

;.KijjjjjN4jtyjjyj;L;$4A$..............................................ypade$;g5ygltljroyp(j$gAjjK

3. 6()àj/lj1$CALE$-.-..-w-.-.............-....---..-.-.-..-------......w------rn3de$22y543jrO(n (J$BA)1$



    DADEFEDERALDISTRIG IUDGESW ITH A $CONFLICT OFINTERESTW ITH U.S.BANK


4. FEDERALJUDGERODOLFO RUIZ------------------------------------made$250,000from USBANK

5. FEDERALJUDGEJOSEMARTINEZ------------------------------------made$250,000from US BANK

6. BANKRUPTCYJUDGELAURELISICOFF- ----------------------------made$15,000 from USBANK

7. FEDERALMAGISTRATEEDUARDO SANCHEZ---------------------made $250,000from USBANK

                                            REQUIRED RELIEF



         Fla.CodeJud.Conduct,Canon3E(1),Fla.Rule2.160(A)(H),Fla.Sutute112.312(8)andFederalRults
    ofCivilProcedure Rule 60,PlaintiF requiresRelieffrom ALL Olo ERsa- basedupon the statedfacts,just

   term s,dtedm isconduct,Rule60 groundsand newly discovered banking realestatefraud by courtoftk ers        .



         Said Reopening Reliefwould require the vacating ofhisorderand RecusalofJudge Jaqueline Becerra

   from this and any futlzre related U S BA N K banking realestate cases in this D istrict. The D ism issalO rder

   Reliefalso requiresthata11partiesbereinstatedtotheirpriorpositionsin thisaction and allow thefiling ofthe

   M otion to dismiss the FinalJudgm entforcause,groundsand reasonsstated herein filed by Atty NASHID.




    SA BIR

     W E HAVE SEVEN JUDGES W HO RECUSED THEM SELVES OFF OF TH IS CASE FOR BIT

   M O NEY CONFLICTS SeeExhs.U-ZZZ
  Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 14 of 55


     131 Federal Judges have been found Guilty of Conflict of lnterest and the m ost one m ade was

$100,000.00 here in this one case we have seven Judgeswho Recused themselvesfrom makin millions of
dollarsfrom U.S.Bank one Judge made 28 million named John Schlesinger, Judge Valerie M anno Schurr

m ade 11million,M agistrate Judge Sanchez made$250,000,JudgeM artinez made$250,000 from U.S.Bank

andyouJudgeBecerrayou saidyoum ade$150,000 fearlesslyand youhaveknowledgeofthiscaseinviolation

of28USC ss455 (b)(1)and you'reaDemocratgoingagainstBlacksForTrump to destroy them withouta
cause inviolation ofPresidentTrumpsExectuive OrderYourhave a Horriying Conflictoflntertestand you

are disqualified from thisCase

     CC,
       'PresidentTrump

     CC :K ash Patel

     CC :B ongino

     CC Pam Bondi

                          CERTIFICATE OF SERW CE
    1 HEREBY CERTIFY thaton 12th day ofM ay.,2025 atrueand correctcopy oftheforegoing

             wasprovided viathisCourt'sfiling system to theattorneysofrecord.

        SW ORN OATH AS A NEXT FRIEND ,ALFRED DAVIS M INISTER AND BECAUSE I

        HA V E A N IN TER EST IN TH IS CA SE THE PR O SECU TO R M EN TION ED TH A T M Y

               COM PANY IN THIS CA SE IS UNDER IN VESTIGATION.


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       Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 15 of 55
       Case 1:24-cr-20456-08 Document59 Entered on FLSD Docket05/14/                                                                    1

FINANCIAI,DISCLOSITRE REPORT                                      N- 'GP- RY 'M                                                     Dateexep'd
Page4 of6                                                          Beeerrwlaeq- lne                                                  * 15/2024

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 1. lndiviamlAssds(H)

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 3. Accotmt#1(11)

 4. Brighthouse6YearShield15 S&P M .                       None         N          T
       IndexIxvd Annuitylfixcdl
 5. Brightbnuse6YearShield25S&,p.5X                        None.        N          T
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 7. AmerlcanFunds-TheIncomeFundof                   A    Diviaena       J          T
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Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 34 of 55


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Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 35 of 55



                    SW ORN OATHANDAFFIDAVIT                                 fkL,Bs

  lMICAHIELNICHLOSON W nsCalledW Cellphone byFBlAgentAdam weinstein
  and he said he w:sAddm weinsteinfrom the FBland l4m lnvestigating the Jan 6'''

  lnsurrection incidentand then they ask to speak to M ichaelAm M aurice

  Symonette the FBIAgentW einstein told him thathewasinvestir ting theJan.6t''

  insurrectlon incidentthen theyasked M auriceSym onettedid * and the Brothers

  go inside the U.S.Capitoland M aurke said no,but!did a SpeeEh on stage oul ide

  the Capitol.R en they O id there'snothlng w e can do alIw e w anted D know isIf

  you wentinto the Capitol,you V id no so there nothing can do aboutthalM ichaet,



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b um p Says H e'llF re
E B .I.A gentsA m ld
FightO verThose M o
Investkatedlan.6
A courtordered the adm inistration to keep
secreta listofE B .I.ofhcialsw ho had
pursued Jan.6 rioters.T hen Trum p said
he w ould *4surgically''hre som e agents.

#       Listen to thisarticle .6:51m in Learn more

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PresidentTrum p declared on Fri   dayY t
                                       yVat9zf0'
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he w ould soon <tsurgically''fire
unidentified E B .I.agents he claim ed w ere
corrupt,intensifying concerns aboutthe
possibility of a purge offederal1aw
enforcem ent officials in the face ofa court
fightover agents and em ployees w ho had
helped investigate the Jan.6,2021,Capitol
riot.

Hoursearlier,ajudge ordered his
adm inistration to keep confidentiala listit
had created ofthousands ofE B .I.agents
and em ployees w ho had w orked on
inquiries related to the Jan.6 attack.

T he adm inistration told the F.B .I.to
com pile thatlistlastw eek.M r.Trum p,
asked at a new s conference on Friday
w hether he w ould fire al1agents on it,said
  Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 39 of 55
be term inated.                                                           -           jy
                                                                        tkç,.DD es,3

ïtI'11fire som e ofthem because som e of
them w ere corrupt,''he said.<dI have no
doubt about that.1 got to know a lot about
thatbusiness,thatw orld.lgOt to know a
1ot aboutthat w orld.A nd w e had som e
corrupt agents,and those people are gone,
or they w illbe gone and itw illbe done
quickly and very surgically''


                              A D V ER TISE M EN T
  Case 1:24-cr-20456-JB Document 60 Entered on FLSD Docket 05/15/2025 Page 40 of 55


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T he dispute over the adm inistration's
plans grew out ofa dem and by E m ilB ove,
the acting deputy attorney general,that
the bureau com pile and turn over a
com prehensive list ofthe 1aw enforcem ent
officials w ho had played any role in
investigating Jan.6.

T he investigation becam e the largest in
the Justice D epartm ent's history,leading
to nearly 1,600 people being charged or
convicted of crim es in connection w ith the
riot and involving the w ork ofthousands of
F.B .I.em ployees.

w o groups ofanonym ous E B .I.agents
and em ployees filed law suits earlier this
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barring the entire governmentf
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M r.B ove,a form er crim inaldefense
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helping oversee the Trum p adm inistration
effortto rem ake federal1aw enforcem ent.


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                                   Today 8:58AM
                                                                    (A r:
                  Alfred,this is Brian Kirlew.I
                  reviewed yourem ailto Kateryn
                  discharging ourfirm from further
                  representation in this m atter.You
                  have a constitutionalrightto a
                  Iaw yerofyourchoice,orto
                  representyourselfforthatm àtter.
                  There are no hard feelings.W e have
                  nothing butIove and appreciation
                  foryou,Elaine,and the entire fam ily.


                  W ith thatsaid,how ever,you cannot
                  justfire usviaemail.AnotherIawyer
                  needsto enteran appearance,and
                  we m ustbe substituted.Sim ilarto
                  whatwedidwithZel
                                 jka.Ifyouhave
                  hired someone,which Ibelleve you
                  have because anotherIawyercalled
                  ouroffice late afternoon yesterday,
                  thatIawyerneeds to enteran
                  apperance on yourbehalf.
                  Ifyou intend to representyourself,
                  Judqe Becerra w illneed to conduct
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                           UNITED STATES DISTRICT JMDGE
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         APPEARANCES :
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                                        BNITEB STATES ATTORNiY'S OFFICE
                                        9?
                                        H  lj 4th Slreet
                                         Aam4, FlorAda 33132
                                        KATIE L! SADLO , ESQ
                                        QNITED STATES ATTOR;EY'S OFFICE
                                        50q
                                        S   South Australlan Avenue
                                         u4te 400
                                        West Palm Beach , Florida            33401
          F0R THE BEFENRAKT :           ZELJKA B0zAN1C, ESQ.
                                        BozANlc LAW , P .A .
                                        17100 Royal Palm Blvd .
                                        suite 1
                                        weston , Florida 33326
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                                        HBKBERTO DOKINGBEZ, ESQ
                                        LAW OFFICE OF HPKBERTO i. DOKINGUEZ
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                      THE COBRT : 1 '* not sure .          1 think there 's
         enbugh issue in this oase that I think 1'11 1et him out
         until    at the very lvast, until sentencing .
                      So 1 will permit you to remain on bond under
         the same terms and conditions that you have been up to
         this time .     But , Kr . Bavis , don't 1et me down because I'm
         trusting you . We will talk again .
                      Do we have a date for sentencing?
                      COBRTROO: DEPBTY : Yes , Judge . The sentencing
         date is Thursday, July 11th at 11 :00 a .m .
                      THE COURT : â11 right. At this point , 1 .11
         refer you to the U .S . Probation office for the
         preparation of a sentencing memorandum .               #nd cooperate
         with them . They'll tell you where to be .                Failure to
         show up is a separate crime and a very serious one ,
         sometimes more serious than the underlying crime .                   So you
         must show up at the various times that you 're told to .
                      Talk to the probation office people .               Help them
         prepare your presentence investigation . And we '11 see
         you back here on Thursday , July 11th
                      ât what time?
                      COURTROOK DEPUTY :        11:00 a .m .
                      THE COBRT :          11:00 a .* . here in this courtroom ,
   24    a11 right?
                      We will in recess on this matter .              1'11 get you


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         By theauthority vested in m e asPresidentby the Constitution and thelaw softhe United States of
         Am erica,and section 301oftitle 3,United StatesCode,itishereby ordered asfollows:
         Section 1.Purpose.TheAm erican people havew im essed the previousadm inistm tion engagein a
                                                                 *
         system atic cam paigu againstitsperceived politicalopponents,weaponizing the legalforce of
         num erousFedem l1aw enforcem entagencies and thelntelligenceCom m tm ity againstthose perceived
         Politicalopponentsintheform ofinvestigations,prosecutionl,civilenforcementactions,andother
         related actions.These actionsappearoriented m ore tow ard inflicting politicalpain than toward
         pursuing actualjusticeorlesEmategovernmentalobjectives.M any oftheseactivitiesappeartobe
         inconsistentwith theCons*tution and/orthelawsoftheUnited States,includingthoseactivities
         directed atparentsprotesting atschoolboard m eetings,Am ericanswho spoke outagainstthe
         previousadm inistration'sactions,and otherAm ericansw ho weresim ply exercising constitutionally
         protected rights.

         Theprioradm inistration and alliesthroughoutthecountry engaged in an unprecedented,third-world
         weaponization ofprosecutorialpowerto upend the dem ocratic process. lttargeted individuals
         who voiced opposition to the prior adm inistration'spolicieswith num erousFedem linvestigations
         and politically m otivated funding revocations,which costAm ericans accessto needed serdces.The
         DepartmentofJusticeevenjailedan individualforpos:ngapoliucalmeme.And whilethe
         Departm entofJustice hasruthlessly prosecuted m orethan 1,500 individualsassociated with January
         6,and sim ultaneously dropped nearly a11cases againstBLM rioters.
         Therefore,thisordersetsforth aprocessto ensureaccountability forthe previousadm inistration's
         weaponization ofthe FederalGovernm entagainsttheAm erican people.

         Sec.2. Policy. Itisthe policy oftheUnited Statesto identify and take appropriate action to correct
         pastm isconductby the FederalGovernm entrelated to the weaponization oflaw enforcem entand the
         w eaponization ofthe Intelligence Com m unity.

         Sec.3.EndingtheW eaponization oftheFederalGovernm ent.(a)TheAttorney General,in
         consultation w11.
                         13the heads ofa11departm entsand agenciesofthe United States,shalltake
         appropriate acion to review theactivitiesofa11departm entsand agenciesexercising civilorcrim inal
         enforcementauthorityoftheUnited States,includjng,butnotlim ited to,theDepadm entofJustice,

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      the Securitiesand Faxchange Com m ission,and the FederalTm de Com m ission,overthelast4 years
      and identify any instanceswhere a deparM ent'soragency'sconductappearsto havebeen contrary to
      the purpose,sand policiesofthisorder,and prepare a reporttobesubm itted to thePresident,through
      the Deputy ChiefofStaffforPolicy and the Counselto thePresident,with recom m endationsfor
      appropriate rem edialactionsto be taken to fulfllthepurposes and policiesofthisorder.

      (b) TheDirectorofNationalIntelligence,in consultation with theheadsoftheappropriate
      departm entsand agencieswithin the Intelligence Com m unity,shalltake a1lappropriate action to
      review the activitiesofthe Intelligence Com m unity overthelast4 yearsand identify any instances
      wherethe Intelligence Com m unity'sconductappearsto havebeen contrary to the purposes and
      policiesofthisorder,and prepare areportto be subm itted to the President,through theDeputy Chief
      ofStaffforPolicy and theN ationalSectlrity Advisor,w1t. 1:recom m endationsforappropriate rem edial
      actionstobetaken to f11lfllthepurposesand policiesofthis order.rrheterm Glntelligence
      Com m unity''hasthe m eaning given the term in section aoo3 oftitle 5o,United StatesCode.

      (c) ln furtheranceofthesepolicies,departmentsandagenciesaredirected to com ply with applicable
      docum ent-retention policiesand legalobligations. Instancesofnoncom pliance w1t.
                                                                                     1:docllm ent-
      retention policiesorlegalobligationswillberefen'ed to the Attorney General.

      See.4.GeneralProd sions.(a) Nothingin thisordershallbeconstm edtoim pairorotherwiseaffed:
      (i) theauthority grantedby 1aw toan executivedepar% entoragency,orthehead thereof;or
      (ii) thefunctionsoftheDirectoroftheOm ceofM anagem entand Budgetrelatingtobudgetary,
      adm inistrative,orlegislative proposals.

      (b)Thisordershallbeimplementedconsistentwithapplicable1aw andsubjecttotheavailabilityof
      appropriations.

      (c) ThisordeTisnotintended to,and doesnot,createanyrightorbenest,substantiveorprocedural,
      enforceableat1aw orin equitybyanypao againsttheUnited States,itsdepartm ents,agencies,or
      entities,itsoc cers,em ployees,oragents,orany otherperson.

      TH E W H ITE H OUSE,

        January 2o,2025.




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